            Case 5:21-cv-00275-J Document 9 Filed 05/19/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

CAMEO HOLLAND, an Individual and                 )
Next of Kin to Minor Child, S.R., Deceased,      )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )       Case No. CIV-21-275-J
                                                 )
CITY OF OKLAHOMA CITY, et al.,                   )
                                                 )
               Defendants.                       )

                                             ORDER

       Before the Court is Defendant City of Oklahoma City’s (City) Motion to Dismiss [Doc.

No. 6]. Plaintiff has filed her response. In its motion, City moves to dismiss Plaintiff’s request

for punitive damages against City. In her response, Plaintiff concedes that she is not entitled to

recover punitive damages from City and does not object to the dismissal of her request for punitive

damages against City.

       Accordingly, the Court GRANTS City’s Motion to Dismiss [Doc. No. 6] and DISMISSES

Plaintiff’s request for punitive damages against City.

       IT IS SO ORDERED this 19th day of May, 2021.
